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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
______________________________________________

UNITED STATES OF AMERICA,

                      v.                                                   5:01-CR-113
                                                                               (FJS)
RAMON BRITO,

                              Defendant.
______________________________________________

APPEARANCES                                                 OF COUNSEL

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RAMON BRITO
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Defendant pro se

SCULLIN, Chief Judge

                                            ORDER

       On December 7, 2005, Defendant Ramon Brito filed a "Motion Requesting An Out-of-

Time Appeal." See Dkt. No. 580. On January 6, 2006, the Government filed a letter in

opposition to that motion. See Dkt. No. 583. The Government asserts that the Court should deny

Defendant's motion for two reasons: (1) Defendant has already moved in the United States Court

of Appeals for the Second Circuit to reinstate his appeal and that Court denied his motion and (2)

this Court lacks jurisdiction to grant Defendant's motion under Rule 4(b) of the Federal Rules of

Appellate Procedure because Defendant has already appealed and the time period for filing a late
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notice of appeal expired long ago. See id.

       Rule 4(b) of the Federal Rules of Appellate Procedure provides, in pertinent part, that

               [i]n a criminal case, a defendant's notice of appeal must be filed in
               the district court within 10 days after the later of:
                       (i) the entry of judgment or the order being
                       appealed; . . .

                                              *****
               Upon a finding of excusable neglect or good cause, the district
               court may – before or after the time has expired, with or without
               notice – extend the time to file a notice of appeal for a period not to
               exceed 30 days from the expiration of the time otherwise
               prescribed by this Rule 4(b).

Rule 4(b)(1)(A), (b)(4) of the Federal Rules of Appellate Procedure.

       Defendant is not entitled to the relief he seeks under Rule 4(b) because, among other

things, he has already filed a notice of appeal. See Dkt. No. 508. In addition, upon the motion of

his appellate attorney, the Second Circuit granted his motion to withdraw that appeal. See Dkt.

No. 561. There is nothing in Rule 4(b) that would permit this Court to grant Defendant an

opportunity to file a second appeal. Finally, on December 15, 2005, the Second Circuit entered

an order denying Defendant's motion to "reinstate out-of-time appeal."

       Accordingly, the Court hereby

       ORDERS that Defendant's motion requesting an opportunity to file an out-of-time appeal

is DENIED.

IT IS SO ORDERED.

Dated: February 11, 2006
       Syracuse, New York




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